          Case 1:20-cv-00705-DCF Document 32 Filed 11/02/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 SEBASTIAN ABREU LOPEZ, individually and on
 behalf of all others similarly situated,

                                Plaintiffs,                        20cv00705 (DF)
                                                                   ORDER OF DISMISSAL
                -against-

 M&V INTERNATIONAL FOOD INC. d/b/a FOOD
 PALACE,

                                Defendants.


DEBRA FREEMAN, United States Magistrate Judge:

       In this action under the Fair Labor Standards Act and the New York Labor Law, which is

before this Court on the consent of the parties pursuant to 28 U.S.C. § 636(c), the parties, having

reached an agreement in principle to resolve the action, have placed their proposed settlement

agreement before the Court for approval. See Cheeks v. Freeport Pancake House, Inc., 796 F.3d

1999 (2d Cir. 2015) (requiring judicial fairness review of FLSA settlements). The parties have

also submitted a letter to the Court, explaining why they believe the proposed settlement

agreement is fair, reasonable, and adequate. (Dkt. 30.) The Court has reviewed the parties’

submission in order to determine whether the proposed agreement (Dkt. 30-1) represents a

reasonable compromise of the claims asserted in this action, and, in light of the totality of the

relevant circumstances, including the representations made in the parties’ letter, the terms of the

proposed settlement agreement, and the Court’s own familiarity with the strengths and

weaknesses of the parties’ positions (as became evident during an arms-length settlement

mediation conducted by this Court), it is hereby ORDERED that:
             Case 1:20-cv-00705-DCF Document 32 Filed 11/02/20 Page 2 of 2




        1.       The Court finds that the terms of the proposed settlement agreement are fair,

reasonable, and adequate, both to redress Plaintiff’s claims in this action and to compensate

Plaintiff’s counsel for their legal fees, and the agreement is therefore approved.

        2.       The Court notes that the parties’ proposed settlement agreement expressly

contemplates that this Court will retain jurisdiction over this action for purposes of enforcement

of the agreement. (See Dkt. 30-1 ¶ 6; see also id. ¶ 1(f).) In light of this, and in order to

effectuate the evident intent of the parties, this Court will retain jurisdiction over this matter for

the purpose of enforcing the settlement agreement.

        3.       As a result of the Court’s approval of the parties’ executed settlement agreement,

this action is hereby discontinued with prejudice and without costs or fees to any party. The

Clerk of Court is directed to close this case on the Docket of the Court.

Dated: New York, New York
       November 2, 2020

                                                        SO ORDERED


                                                        ________________________________
                                                        DEBRA FREEMAN
                                                        United States Magistrate Judge

Copies to:

All counsel (via ECF)




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